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                       Exhibit D
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                                            AUDIENCE (/NAR/MEDIA-KIT)         PRINT (/NAR/PRINT)       DIGITAL (/NAR/DIGITAL)      EVENTS (/NAR/EVENTS)
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                                            OTHER OPPORTUNITIES (/NAR/OTHER-OPPORTUNITIES)                 CONTACT US (/NAR/CONTACT-US)




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profession and the products and services they use frequently. Program participants receive significant benefits through the alliance, including preferred provider
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